            Case: 23-2992                  Document: 46          Filed: 04/08/2024         Pages: 1



    UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                                      Office of the Clerk
        United States Courthouse
                                                                                     Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
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          Chicago, Illinois 60604




                                                    FINAL JUDGMENT
April 8, 2024

                                                   Before
                                     FRANK H. EASTERBROOK, Circuit Judge
                                     DAVID F. HAMILTON, Circuit Judge
                                     JOSHUA P. KOLAR, Circuit Judge

                                          KEELY ROBERTS, et al.,
                                                   Plaintiffs - Appellees
Nos. 23-2992, 23-2993,
23-2994, 23-2995, 23-2996,
                            v.
23-2997, 23-2998, 23-2999,
23-3000, 23-3001, 23-3002 &
                            SMITH & WESSON BRANDS, INC.; SMITH & WESSON
23-3003
                            SALES COMPANY; and SMITH & WESSON, INC.,
                                     Defendants - Appellants
Originating Case Information:
District Court Nos: 1:22-cv-06186, et al.
Northern District of Illinois, Eastern Division
District Judge Steven C. Seeger


The remand decision is AFFIRMED. The case is REMANDED to the district court to consider
acting under 28 U.S.C. §1447(c) and other sources of authority. The above is in accordance with
the decision of this court entered on this date. Appellees recover costs.




                                                                            Clerk of Court



form name: c7_FinalJudgment        (form ID: 132)
